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   Speeches
                                  Release date: 04 June 2010
   Features                                                                                                            In this section
   Images and graphics            Loss of Income Compensation Totals About
                                                                                                                         BP is to Sell its Veedol and
                                  $84 Million                                                                          Duckhams Lubricant Brands
   Press contacts
                                  Robert, LA (June 4) -- BP said today it will be sending a second advance               BP to Sell Package of UK
                                  payment during June to individuals and businesses along the Gulf Coast to            Upstream Assets
                                  compensate for the loss of income or net profit due to the cleanup of the
                                  Deepwater Horizon Incident in the Gulf of Mexico.                                      BP and Reliance Industries
      What is RSS?                                                                                                     Announce Transformational
                                  With the second advance payments, BP estimates it will have spent about $84          Partnership in India
                                  million for loss of income or net profit through June, based on the claims it has
                                                                                                                          BP Confirms Plans For Further
                                  received to date. This number will grow as additional claims are filed.
                                                                                                                       Petrochemicals Growth in China
                                                                                                                       Including Debottlenecking of BP
                                  “We deeply regret the impact the oil spill has had on individuals and                Zhuhai
                                  businesses, and understand the need for quick and reasonable compensation,”
                                  said Doug Suttles, chief operating officer, BP Exploration and Production. “We          BP Announces Plans to Enter
                                  hope these payments will assist individuals, businesses and the communities          into Arbitration Proceedings
                                  impacted.”
                                                                                                                                                    More
                                  About 14,000 individuals and businesses in Louisiana, Mississippi, Alabama
                                  and Florida have received an initial advance payment for loss of income or net
                                  profit to date.

                                  With the second payment, about 7900 individuals and businesses in Louisiana
                                  will have received about $50 million for loss of income or net profit by the end
                                  of June. The numbers for Alabama are about 3000 claimants receiving about
                                  $16 million, in Mississippi about 1900 individuals and businesses receiving
                                  about $10 million, and in Florida about 1200 claimants receiving about $8
                                  million. BP expects these numbers will grow as claims continue to be filed
                                  during the month.

                                  The second advance payment will be the same amount as the first payment
                                  received; no check will be reduced. The mailings will start this week. Individuals
                                  and businesses will receive their second payment about 30 days after their
                                  initial advance payment was received. Checks will be mailed along with a letter
                                  that is printed in four languages -- English, Spanish, Vietnamese, and Khmer.

                                  BP has moved to pay advances as fast as possible and, therefore, is still
                                  conducting evaluations of losses by claimants. Payment adjustments may be
                                  required in the future when evaluations are completed; however, BP will not
                                  seek repayment if it overpaid advances. Loss of income or net profit payments
                                  are made in advance because individuals and businesses need to pay their
                                  bills.

                                  Claimants, who have provided documentation that demonstrates their loss of
                                  income or net profit was larger through May than the initial advance payment
                                  received, also will receive a supplemental payment for those losses. This
                                  payment will be provided after direct consultation with a claims adjuster.

                                  Individuals or businesses with questions about an existing claim should contact
                                  BP’s toll free number at 1-800-573-8249. To file a new claim, the number is 1-
                                  800-440-0858.

                                                                                            Ex. 5
                                  Further information:
                                                                                            Press Release, BP, BP to Pay a Second Month of Loss of Income
                                  BP Press Office London +44 20 7496 4076
                                  BP Press office, US: +1 281 366 0265                      Claims (June 4, 2010), available at
                                                                                            http://www.bp.com/genericarticle.do?
                                  www.bp.com/gulfofmexicoresponse
                                  www.deepwaterhorizonresponse.com
                                                                                            categoryId=2012968&contentId=7062660 (last visited Feb. 24, 2011).
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